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 2    State Bar No. 11479
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 3    Assistant Federal Public Defender
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 5    (702)388-6261/Fax
 6    Attorneys for Linda Livolsi

 7
                                     UNITED STATES DISTRICT COURT
 8
                                            DISTRICT OF NEVADA
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10
11     UNITED STATES OF AMERICA,                                    2:10-CR-00578-APG-GWF

12                     Plaintiff,                            EMERGENCY MOTION TO EXTEND
                                                                 SELF-SURRENDER DATE
13     vs.
                                                                 (Expedited Treatment Requested)
14     LINDA LIVOLSI,

15                     Defendant.

16           COMES NOW Rene L. Valladares, Federal Public Defender, and Monique Kirtley, Assistant

17    Federal Public Defender, counsel for LINDA LIVOLSI, files this Motion to Extend Ms. Livolsi’s

18    self-surrender date to the Bureau of Prisons from July 24, 2015 to September 25, 2015, for the

19    following reasons:

20           1.      On October 15, 2014, Ms. Livolsi pleaded guilty to one count of Wire Fraud (count

21    two), in violation of 18 U.S.C. § 1343 and one count of False and Fraudulent Tax Return (count

22    four), in violation of 26 U.S.C.§ 7206(1). She was sentenced on April 28, 2015, to forty five months

23    for the wire fraud violation and thirty-six months for the fraudulent tax return violation, each to run

24    concurrent, and three (3) years of supervised release to follow. This Court ordered Ms. Livolsi to

25    self-surrender by noon on July 24, 2015. CR #205.

26           2.      Ms. Livolsi now seeks an extension of her self surrender date. On July 21, 2015,

27    undersigned counsel received a fax from Ms. Livolsi’s physician, Israel Mays, MD. In the fax Dr,

28    Mays relates that Ms. Livolsi is scheduled for multiple outstanding speciality appoints with
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 1    Oncology, Gastroenterology, and Rheumatology within the next three weeks. See Attached Exhibit

 2    A: Dr. Mays Letter. Additionally, Ms. Livolsi is “currently prescribed high levels of controlled

 3    medications of narcotics which will need to be modified prior to her reporting period.” Id. Dr.
 4    Mays further emphasis that “the abrupt discontinuation of the immunosuppressant and controlled

 5    medication would place the patient at high risk for developing rebound and/or withdrawal symptom.”
 6    Id. Dr. Mays relates that Ms. Livolsi “is working with a specialist to make drug modification that

 7    would be consistent with the care that is available in the Federal Bureau of Prison and that this

 8    transition should be completed in the next 4-6 weeks.” Id..
 9            3.     Based on Ms. Livolsi’s pending medical condition as outlined in Dr. Mays’ fax, Ms.

10    Livolsi is seeking an extension of her self surrender date for an additional 60 days. Ms. Livolsi is
11    not seeking this extension for purposes of delaying her sentence. Ms. Livolsi accepted responsibility

12    for her actions and recognizes that she has a sentence to serve.

13           4.      In addition to her medical conditions, Ms. Livolsi informed undersigned counsel, via
14    email, that her house is going to sheriff auction on August 17, 2015. Ms. Livolsi is working on

15    arrangements for alternative housing and meeting with an attorney on July 23, 2015.
16           5.      The government opposes Ms. Livolsi’s request to extend her self-surrender date.

17           6.      Ms. Livolsi specifically requests an extension of her self surrender date to

18    September 24, 2015.
19           7.      This is the first request to extend the self-surrender date.

20           DATED this 21st day of July, 2015.
21                                                    RENE L. VALLADARES
                                                      Federal Public Defender
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23                                              By:     /s/ Monique Kirtley
                                                      MONIQUE KIRTLEY,
24                                                    Assistant Federal Public Defender

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 1                             CERTIFICATE OF ELECTRONIC SERVICE

 2           The undersigned hereby certifies that I am an employee of the Federal Public Defender for

 3    the District of Nevada and am a person of such age and discretion as to be competent to serve papers.
 4           That on July 21, 2015, I served an electronic copy of the above and foregoing

 5    EMERGENCY MOTION TO EXTEND SELF-SURRENDER DATE(Expedited Treatment
 6    Requested), by electronic mail to all parties of record including the persons named below:

 7

 8                   DANIEL G. BOGDEN
                     United States Attorney
 9                   J. GREGORY DAMM
                     Assistant United States Attorney
10                   333 Las Vegas Blvd. So., 5th Floor
                     Las Vegas, Nevada 89101
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13
                                             /s/ Nancy Vasquez, Legal Secretary
14                                          Employee of the Federal Public Defender

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